                          Case 8-19-75581-ast                            Doc 9           Filed 08/26/19                    Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                   Stephen J. Prevete
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,090,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              33,287.45

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,123,287.45

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             936,403.08

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              79,567.32

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,332,954.54


                                                                                                                                     Your total liabilities $             3,348,924.94


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              14,756.31

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              14,557.54

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9   Filed 08/26/19      Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                         Case number (if known) 19-75581

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            79,567.32

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             79,567.32




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                           Case 8-19-75581-ast                                Doc 9           Filed 08/26/19                 Entered 08/26/19 18:09:25


 Fill in this information to identify your case and this filing:

 Debtor 1                    Stephen J. Prevete
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NEW YORK

 Case number            19-75581                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        58 Meadowbrook Road                                                            Single-family home                           Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                          the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                    Current value of the      Current value of the
        Syosset                           NY        11791-0000                         Land                                         entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                $680,000.00                 $680,000.00
                                                                                       Timeshare
                                                                                                                                    Describe the nature of your ownership interest
                                                                                       Other                                        (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one      a life estate), if known.
                                                                                       Debtor 1 only                                Fee simple
        Nassau                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                       At least one of the debtors and another          (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                          Case 8-19-75581-ast                          Doc 9         Filed 08/26/19                 Entered 08/26/19 18:09:25

 Debtor 1        Stephen J. Prevete                                                                                     Case number (if known)          19-75581

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       187 Castle Ave                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Westbury                          NY        11590-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $410,000.00                   $410,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Nassau                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $1,090,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
       Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                            $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                        Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                         miscellanous household goods and furnishings                                                                                     $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                            Case 8-19-75581-ast                                     Doc 9              Filed 08/26/19         Entered 08/26/19 18:09:25

 Debtor 1         Stephen J. Prevete                                                                                            Case number (if known)   19-75581

        Yes. Describe.....

                                            miscellanous electronics                                                                                                       $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            miscellanous clothing                                                                                                          $600.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                              $1,600.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                   Cash                                    $100.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                          Case 8-19-75581-ast                        Doc 9      Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1         Stephen J. Prevete                                                                           Case number (if known)   19-75581
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                      17.1.    Checking                      TD Bank                                                                    $1,424.95


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                              % of ownership:

                                         616 Broadway Realty Corp                                                    100          %                     Unknown


                                         Steve Prevete Real Estate, Inc.                                             100          %                     Unknown


                                         ILCIN Corp,                                                                 100          %                     Unknown


                                         Anjen Corporation                                                           100          %                     Unknown


                                         3248 Hempstead Turnpike Corp.                                               100          %                     Unknown


                                         2465 Merrick Road, Inc.                                                     100          %                     Unknown


                                         Madison Homes Realty, Inc.                                                  100          %                     Unknown


                                         1717 Hempstead Turnpike Corp.                                               100          %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                             Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                           Institution name or individual:



Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                           Case 8-19-75581-ast                       Doc 9    Filed 08/26/19        Entered 08/26/19 18:09:25

 Debtor 1        Stephen J. Prevete                                                                      Case number (if known)      19-75581
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              NYS Real Estate Brokers License                                                                        Unknown


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

                                         First Allmerica                                        Patricia Prevete                                           $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..



Official Form 106A/B                                                   Schedule A/B: Property                                                              page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                         Case 8-19-75581-ast                             Doc 9            Filed 08/26/19                    Entered 08/26/19 18:09:25

 Debtor 1        Stephen J. Prevete                                                                                              Case number (if known)        19-75581
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $1,524.95


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
        Yes. Describe.....


                                        Madison Homes Realty commission due                                                                                                  $30,162.50


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....
Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                           Case 8-19-75581-ast                               Doc 9            Filed 08/26/19                      Entered 08/26/19 18:09:25

 Debtor 1         Stephen J. Prevete                                                                                                    Case number (if known)   19-75581


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                $30,162.50

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,090,000.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                       $1,600.00
 58. Part 4: Total financial assets, line 36                                                                   $1,524.95
 59. Part 5: Total business-related property, line 45                                                         $30,162.50
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $33,287.45              Copy personal property total              $33,287.45

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,123,287.45




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9      Filed 08/26/19           Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                 Stephen J. Prevete
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      58 Meadowbrook Road Syosset, NY                                $680,000.00                              $164,240.52      NYCPLR § 5206
      11791 Nassau County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      miscellanous household goods and                                    $500.00                                  $500.00     NYCPLR § 5205(a)(5)
      furnishings
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      miscellanous electronics                                            $500.00                                  $500.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      miscellanous clothing                                               $600.00                                  $500.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Madison Homes Realty commission                                 $30,162.50                               $30,162.50      NYCPLR § 5205(d)(2)
      due
      Line from Schedule A/B: 38.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9   Filed 08/26/19     Entered 08/26/19 18:09:25

 Debtor 1    Stephen J. Prevete                                                                Case number (if known)     19-75581
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                           Case 8-19-75581-ast                       Doc 9        Filed 08/26/19            Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                   Stephen J. Prevete
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Mark Dimarscio                           Describe the property that secures the claim:                   $8,000.00             $680,000.00                     $0.00
         Creditor's Name                          58 Meadowbrook Road Syosset, NY
                                                  11791 Nassau County
                                                  As of the date you file, the claim is: Check all that
         193 Country Road                         apply.
         Medford, NY 11763                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Premier Capital Funding                  Describe the property that secures the claim:                 $51,612.59              $680,000.00                     $0.00
         Creditor's Name                          58 Meadowbrook Road Syosset, NY
                                                  11791 Nassau County
                                                  As of the date you file, the claim is: Check all that
         9265 4th Ave 2nd Floor                   apply.
         Brooklyn, NY 11209                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                           Case 8-19-75581-ast                        Doc 9          Filed 08/26/19               Entered 08/26/19 18:09:25


 Debtor 1 Stephen J. Prevete                                                                                  Case number (if know)   19-75581
               First Name                  Middle Name                      Last Name


 2.3     Wells Fargo Bank                           Describe the property that secures the claim:                  $340,000.00           $410,000.00             $0.00
         Creditor's Name                            187 Castle Ave Westbury, NY 11590
                                                    Nassau County
                                                    As of the date you file, the claim is: Check all that
         PO Box 14529                               apply.
         Des Moines, IA 50306                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     Wells Fargo Bank                           Describe the property that secures the claim:                   $80,643.60           $410,000.00     $10,643.60
         Creditor's Name                            187 Castle Ave Westbury, NY 11590
                                                    Nassau County
                                                    As of the date you file, the claim is: Check all that
         PO Box 14529                               apply.
         Des Moines, IA 50306                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     Wells Fargo Home Mtg                       Describe the property that secures the claim:                  $456,146.89           $680,000.00             $0.00
         Creditor's Name                            58 Meadowbrook Road Syosset, NY
                                                    11791 Nassau County
                                                    As of the date you file, the claim is: Check all that
         PO Box 14411                               apply.
         Des Moines, IA 50306                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $936,403.08
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $936,403.08


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19          Entered 08/26/19 18:09:25


 Debtor 1 Stephen J. Prevete                                                                      Case number (if know)        19-75581
              First Name                Middle Name                     Last Name


 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                          Case 8-19-75581-ast                         Doc 9          Filed 08/26/19                 Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                     Stephen J. Prevete
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                        $58,317.65         $58,317.65                    $0.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2014, 2015, 2016
              Philadelphia, PA 19101
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        taxes owed

 2.2          Internal Revenue Service                               Last 4 digits of account number                            $580.38              $580.38                 $0.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2016
              Philadelphia, PA 19101
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              52441                                           Best Case Bankruptcy
                        Case 8-19-75581-ast                           Doc 9          Filed 08/26/19              Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                                 Case number (if know)       19-75581

 2.3      Internal Revenue Service                                   Last 4 digits of account number                         $5,530.55       $5,530.55              $0.00
          Priority Creditor's Name
          P.O. Box 7346                                              When was the debt incurred?         2018
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.4      Internal Revenue Service                                   Last 4 digits of account number                         $3,504.56       $3,504.56              $0.00
          Priority Creditor's Name
          P.O. Box 7346                                              When was the debt incurred?         2018
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.5      Internal Revenue Service                                   Last 4 digits of account number     2386              $10,345.18       $10,345.18              $0.00
          Priority Creditor's Name
          P.O. Box 7346                                              When was the debt incurred?         2018
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           personal trust fund tax liability




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                         Case 8-19-75581-ast                          Doc 9          Filed 08/26/19               Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                                 Case number (if know)           19-75581

 2.6        NYS Dept of Tax & Finance                                Last 4 digits of account number                            $526.75                $526.75                   $0.00
            Priority Creditor's Name
            Bankruptcy Section                                       When was the debt incurred?         2018
            PO Box 5300
            Albany, NY 12205
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes


 2.7        NYS Dept of Tax & Finance                                Last 4 digits of account number                            $762.25                $762.25                   $0.00
            Priority Creditor's Name
            Bankruptcy Section                                       When was the debt incurred?         2018
            PO Box 5300
            Albany, NY 12205
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.1      Alex Lembert                                               Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          63-35 83rd Street                                          When was the debt incurred?           2018
          Middle Village, NY 11379
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal loan


 4.2      American Express                                           Last 4 digits of account number       1006                                           $10,153.39
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?           2004
          Newark, NJ 07101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3      American Express                                           Last 4 digits of account number       3001                                             $6,891.63
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?           2018
          Newark, NJ 07101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.4      American Express                                           Last 4 digits of account number                                                        $4,506.48
          Nonpriority Creditor's Name
          PO Box 315111                                              When was the debt incurred?           2018
          Salt Lake City, UT 84131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Amex/First Source                                          Last 4 digits of account number       4000                                             $4,468.48
          Nonpriority Creditor's Name
          205 Bryant Woods South                                     When was the debt incurred?           2018
          Buffalo, NY 14228
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Andrea Greenberg                                           Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          3372 Seawane Drive                                         When was the debt incurred?           2018
          Uniondale, NY 11556
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.7      Anne P. Haran                                              Last 4 digits of account number                                                     $104,923.05
          Nonpriority Creditor's Name
          9 Bellmore Ave                                             When was the debt incurred?           2017
          Point Lookout, NY 11569
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.8      Audi Financial Services                                    Last 4 digits of account number                                                        $3,423.90
          Nonpriority Creditor's Name
          PO Box 5205                                                When was the debt incurred?           2017
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Bank of America                                            Last 4 digits of account number       8151                                           $28,136.00
          Nonpriority Creditor's Name
          PO Box 15796                                               When was the debt incurred?           2009
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.1
 0        Bank of America                                            Last 4 digits of account number       2148                                           $25,773.61
          Nonpriority Creditor's Name
          PO Box 15796                                               When was the debt incurred?           2012
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overdraft


 4.1
 1        Bank of America                                            Last 4 digits of account number                                                        $9,592.28
          Nonpriority Creditor's Name
          PO Box 15796                                               When was the debt incurred?
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 2        Bernard Beackom and                                        Last 4 digits of account number                                                      $81,852.27
          Nonpriority Creditor's Name
          Kathleen Beackom                                           When was the debt incurred?
          1713 Green Way
          Woodbury, NY 11797
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.1
 3        Capital One Bank                                           Last 4 digits of account number       3878                                             $9,722.57
          Nonpriority Creditor's Name
          PO Box 71083                                               When was the debt incurred?           2010
          Charlotte, NC 28272
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 4        Carla Gitto                                                Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          191 Mastic Beach Road                                      When was the debt incurred?           2015
          Mastic Beach, NY 11951
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal loan


 4.1
 5        Century 21 Real Estate                                     Last 4 digits of account number                                                     $938,000.00
          Nonpriority Creditor's Name
          c/o Gordon & Ress                                          When was the debt incurred?           2018
          18 Columbia Tpk
          Suite 220
          Florham Park, NJ 07932
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   franchise royalties




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.1
 6        Chase                                                      Last 4 digits of account number                                                        $5,149.30
          Nonpriority Creditor's Name
          PO Box 6294                                                When was the debt incurred?           2013
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 7        Chase Card Services                                        Last 4 digits of account number                                                      $19,366.52
          Nonpriority Creditor's Name
          PO Box 1423                                                When was the debt incurred?           2016
          Charlotte, NC 28201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.1
 8        Citibank                                                   Last 4 digits of account number                                                      $30,335.85
          Nonpriority Creditor's Name
          PO Box 790040                                              When was the debt incurred?           2009
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.1
 9        Citibank Ready Credit                                      Last 4 digits of account number                                                        $5,435.17
          Nonpriority Creditor's Name
          PO Box 70166                                               When was the debt incurred?           2010
          Philadelphia, PA 19176
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 0        Crescent Land Development                                  Last 4 digits of account number                                                     $236,000.00
          Nonpriority Creditor's Name
          Michael M. Premisler, Esq                                  When was the debt incurred?           2018
          One Old Country Road
          Suite 360
          Carle Place, NY 11514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services


 4.2
 1        Denise Ricci                                               Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          311 Harbor Drive                                           When was the debt incurred?           2016
          Long Beach, NY 11561
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.2
 2        Donna Fisher                                               Last 4 digits of account number                                                        $3,270.00
          Nonpriority Creditor's Name
          5 Cecil Place                                              When was the debt incurred?           2018
          Hicksville, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 3        First Source Advantage                                     Last 4 digits of account number       3001                                             $7,097.68
          Nonpriority Creditor's Name
          205 Bryant Woods South                                     When was the debt incurred?           2016
          Buffalo, NY 14228
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.2
 4        George Kutty and                                           Last 4 digits of account number                                                      $13,800.00
          Nonpriority Creditor's Name
          Matthewkutty Easow                                         When was the debt incurred?           2018
          1069 Hempstead Tpk
          Suite 2
          Franklin Square, NY 11010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   payment for services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.2
 5        Gerald Diamonti                                            Last 4 digits of account number                                                     $115,879.25
          Nonpriority Creditor's Name
          2950 Hempstead Tpk                                         When was the debt incurred?
          Levittown, NY 11756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 6        Home Depot Credit Svs                                      Last 4 digits of account number       9721                                           $13,089.72
          Nonpriority Creditor's Name
          Dept 32 -2017357900                                        When was the debt incurred?
          PO Box 9001030
          Louisville, KY 40290-1030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        HSBC Bank                                                  Last 4 digits of account number       5266                                           $21,925.75
          Nonpriority Creditor's Name
          PO Box 9                                                   When was the debt incurred?           2007
          Buffalo, NY 14203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   line of credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.2
 8        Knight Capital Funding                                     Last 4 digits of account number                                                      $63,875.14
          Nonpriority Creditor's Name
          2400 Veterans Memorial Bl                                  When was the debt incurred?
          Ste 300
          Kenner, LA 70062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan


 4.2
 9        Komal Kataria                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          2465 Cadillac Drive                                        When was the debt incurred?           2018
          East Meadow, NY 11554
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services


 4.3
 0        Kooresh Shooshtary                                         Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          27 Greenway Drive                                          When was the debt incurred?           2018
          Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.3
 1        Lewis Brisbois                                             Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          633 West Fifth Street                                      When was the debt incurred?
          Los Angeles, CA 90071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deductible on E&O policy


 4.3
 2        Lowes Credit                                               Last 4 digits of account number       4970                                             $4,672.44
          Nonpriority Creditor's Name
          PO Box 530914                                              When was the debt incurred?           2016
          Atlanta, GA 30353
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.3
 3        Maidenbaum                                                 Last 4 digits of account number                                                           $766.43
          Nonpriority Creditor's Name
          483 Chestnut Street                                        When was the debt incurred?           2018
          Cedarhurst, NY 11516
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   tax grievance




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.3
 4        Marlin Business Services                                   Last 4 digits of account number       7001                                             $7,800.64
          Nonpriority Creditor's Name
          PO Box 1626                                                When was the debt incurred?           2015
          Mount Laurel, NJ 08054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   copy machine lease


 4.3
 5        Maryanne Kelly                                             Last 4 digits of account number                                                        $4,000.00
          Nonpriority Creditor's Name
          2484 Orange Street                                         When was the debt incurred?
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 6        Michael Wagner                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          511 Hughes Ave                                             When was the debt incurred?
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.3
 7        Nationwide Credit Inc                                      Last 4 digits of account number                                                      $10,246.37
          Nonpriority Creditor's Name
          PO box 26314                                               When was the debt incurred?
          Lehigh Valley, PA 18002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 8        Newsday                                                    Last 4 digits of account number                                                        $1,006.75
          Nonpriority Creditor's Name
          20 Broadhollow Road                                        When was the debt incurred?
          Suite 1002
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 9        Nital Patel                                                Last 4 digits of account number                                                        $7,437.84
          Nonpriority Creditor's Name
          116 Half Hollow Road                                       When was the debt incurred?           2018
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.4
 0        Optimum                                                    Last 4 digits of account number                                                           $532.44
          Nonpriority Creditor's Name
          1111 Stewart Ave                                           When was the debt incurred?           2018
          Bethpage, NY 11714
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   internet/telephone


 4.4
 1        Patricia Oconnor                                           Last 4 digits of account number                                                      $35,000.00
          Nonpriority Creditor's Name
          2530 Oak Street                                            When was the debt incurred?           2009
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan


 4.4
 2        Patricia Prevete                                           Last 4 digits of account number                                                      $88,070.00
          Nonpriority Creditor's Name
          58 Meadowbrook Rd                                          When was the debt incurred?           2018
          Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.4
 3        Peter O'connor                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2530 Oak Street                                            When was the debt incurred?           2012
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan


 4.4
 4        Preetinder Singh                                           Last 4 digits of account number                                                        $2,716.90
          Nonpriority Creditor's Name
          29 Washington Street                                       When was the debt incurred?           2018
          Hicksville, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services


 4.4
 5        Renee Golub                                                Last 4 digits of account number                                                      $17,242.78
          Nonpriority Creditor's Name
          128 Altessa Blvd                                           When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.4
 6        Rhonda Levine                                              Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          2487 Army Dr                                               When was the debt incurred?           2018
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services


 4.4
 7        Ryan Martin                                                Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          5 Hewitt Street                                            When was the debt incurred?           2015
          Hicksville, NY 11801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan


 4.4
 8        Swift Capital                                              Last 4 digits of account number       7800                                           $37,173.02
          Nonpriority Creditor's Name
          3505 Silverside Rd                                         When was the debt incurred?           2017
          Suite 200
          Wilmington, DE 19810
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)         19-75581

 4.4
 9        Synchrony Bank                                             Last 4 digits of account number       3554                                             $5,883.38
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.5
 0        Troiano Oil                                                Last 4 digits of account number       0072                                             $1,771.85
          Nonpriority Creditor's Name
          c/o Schwartz, Schwartz &                                   When was the debt incurred?           2018
          Associates
          3280 Sunrise Hwy, #302
          Wantagh, NY 11793
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   oil delivery


 4.5
 1        United Collection Bureau                                   Last 4 digits of account number       2279                                           $11,189.46
          Nonpriority Creditor's Name
          5620 Southwyck Blvd                                        When was the debt incurred?           2016
          Suite 206
          Toledo, OH 43614
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9         Filed 08/26/19                Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                                Case number (if know)       19-75581

 4.5
 2         United Properties Corp.                                   Last 4 digits of account number                                                        $3,776.20
           Nonpriority Creditor's Name
           1975 Hempstead Tpk                                        When was the debt incurred?             2016
           East Meadow, NY 11554
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    rent


 4.5
 3         Vlamir Zilberman                                          Last 4 digits of account number                                                      $25,000.00
           Nonpriority Creditor's Name
           98-40 64th Ave, Apt 8A                                    When was the debt incurred?             2018
           Rego Park, NY 11374
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    loan


 4.5
 4         Voley Martin                                              Last 4 digits of account number                                                     $170,000.00
           Nonpriority Creditor's Name
           5 Hewitt Street                                           When was the debt incurred?             2010
           Hicksville, NY 11801
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    loan

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9       Filed 08/26/19                   Entered 08/26/19 18:09:25

 Debtor 1 Stephen J. Prevete                                                                              Case number (if know)          19-75581

 George Stella, Esq.                                           Line 4.38 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 20 Broadhollow Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1002
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Markotsis & Lieberman, PC                                     Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 115 B Broadway, Suite 2                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Att: George Neofitos, Esq
 Hicksville, NY 11801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard Rosenzweig, Esq.                                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 57 Beach Street, 3rd Fl                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Staten Island, NY 10304
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosen Law Firm                                                Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 216 Lakeville Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Great Neck, NY 11020
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    79,567.32
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    79,567.32

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,332,954.54

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,332,954.54




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 22 of 22
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                         Case 8-19-75581-ast                         Doc 9   Filed 08/26/19          Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                  Stephen J. Prevete
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Ally Financial                                                             auto lease
               200 Renaissance Ctr
               Detroit, MI 48243




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                          Case 8-19-75581-ast                           Doc 9   Filed 08/26/19     Entered 08/26/19 18:09:25


 Fill in this information to identify your case:

 Debtor 1                   Stephen J. Prevete
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                          Case 8-19-75581-ast             Doc 9     Filed 08/26/19               Entered 08/26/19 18:09:25




Fill in this information to identify your case:

Debtor 1                      Stephen J. Prevete

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NEW YORK

Case number               19-75581                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Real Estate Broker                           Recreation Counselor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Self                                         White Oaks Nursing Home

       Occupation may include student        Employer's address
                                                                   309 Madison Street                           8565 Jericho Turnpike
       or homemaker, if it applies.
                                                                   Westbury, NY 11590                           Woodbury, NY 11797

                                             How long employed there?         9 mos                                      6 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $         2,344.32

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $   2,344.32




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
                     Case 8-19-75581-ast              Doc 9        Filed 08/26/19               Entered 08/26/19 18:09:25



Debtor 1    Stephen J. Prevete                                                                    Case number (if known)    19-75581


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         2,344.32

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $             0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $             0.00
      5e.    Insurance                                                                     5e.        $              0.00     $             0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $             0.00
      5g.    Union dues                                                                    5g.        $              0.00     $           414.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $           414.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        1,930.32
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        7,641.42       $        2,724.57
      8b. Interest and dividends                                                           8b.        $            0.00       $            0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $            0.00       $                0.00
      8d. Unemployment compensation                                                        8d.        $            0.00       $                0.00
      8e. Social Security                                                                  8e.        $        2,460.00       $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          10,101.42        $           2,724.57

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              10,101.42 + $        4,654.89 = $           14,756.31
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          14,756.31
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
                       Case 8-19-75581-ast                 Doc 9           Filed 08/26/19          Entered 08/26/19 18:09:25




Fill in this information to identify your case:

Debtor 1                 Stephen J. Prevete                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK                                               MM / DD / YYYY

Case number           19-75581
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            4,670.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                          3,793.54




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
                   Case 8-19-75581-ast                     Doc 9         Filed 08/26/19              Entered 08/26/19 18:09:25



Debtor 1     Stephen J. Prevete                                                                        Case number (if known)      19-75581

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 15.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                275.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,700.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               300.00
10.   Personal care products and services                                                    10. $                                                 75.00
11.   Medical and dental expenses                                                            11. $                                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 125.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  200.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  625.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 429.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify: IRS Payment Plan                                                17c. $                                               1,000.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  350.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      14,557.54
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      14,557.54
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              14,756.31
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             14,557.54

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 198.77

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                           Case 8-19-75581-ast                       Doc 9   Filed 08/26/19        Entered 08/26/19 18:09:25




 Fill in this information to identify your case:

 Debtor 1                    Stephen J. Prevete
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number              19-75581
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Stephen J. Prevete                                                    X
              Stephen J. Prevete                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       August 26, 2019                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                         Case 8-19-75581-ast                         Doc 9     Filed 08/26/19              Entered 08/26/19 18:09:25




 Fill in this information to identify your case:

 Debtor 1                  Stephen J. Prevete
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                              Wages, commissions,                      $155,174.00            Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19              Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)   19-75581


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For the calendar year before that:                   Wages, commissions,                      $103,350.00            Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9      Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)    19-75581


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Anne Haran v. Stephen Prevete                             Civil                      Supreme Court Nassau                        Pending
       601978/2019                                                                          County                                      On appeal
                                                                                                                                        Concluded


       Bernard Beackom et al v. Prevete                          Civil                      Supreme Court Nassau                        Pending
       614350/2018                                                                          County                                      On appeal
                                                                                                                                        Concluded


       Renee Golub, et al v. Prevete, et al                      Civil                      Supreme Court Nassau                        Pending
       615252/2018                                                                          County                                      On appeal
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Crescent Land Development                                 commercial rental property                                                                     $0.00
       Michael M. Premisler, Esq.
       One Old Country Road, Suite 360                               Property was repossessed.
       Carle Place, NY 11514                                         Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19              Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)    19-75581


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment             Amount of
       Address                                                        transferred                                             or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Michael G. Mc Auliffe                                          legal fee                                               August 8,                $2,500.00
       68 South Service Rd                                                                                                    2019
       Suite 100
       Melville, NY 11747




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9       Filed 08/26/19            Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)    19-75581


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Bank of America                                           XXXX-9222                    Checking                  2018                                  $0.00
       PO Box 15019                                                                           Savings
       Wilmington, DE 19886
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                              have it?
                                                                      State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9        Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                                Case number (if known)   19-75581


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                  Status of the
       Case Number                                                    Name                                                                           case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19              Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)    19-75581



                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       616 Broadway Realty Corp                                                                                  EIN:         XX-XXXXXXX

                                                                 Marino & Berner                                 From-To


       ILCIN Corp.                                                                                               EIN:         0446

                                                                 Marino & Berner                                 From-To


       3248 Hempstead Turnpike Corp.                                                                             EIN:

                                                                 Marino & Berner                                 From-To


       2465 Merrick Road, Inc.                                                                                   EIN:         6239

                                                                 Marino & Berner                                 From-To


       Steve Prevete Real Estate, Inc.                                                                           EIN:         XX-XXXXXXX

                                                                 Marino & Berner                                 From-To


       Madison Homes Realty, Inc.                                                                                EIN:

                                                                 Marino & Berner                                 From-To


       Anjen Corporation                                                                                         EIN:         7816

                                                                 Marino & Berner                                 From-To


       1717 Hempstead Turnpike Corp.                                                                             EIN:         2291
       255 Old Country Road
       Hicksville, NY 11801                                      Marino & Berner                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9      Filed 08/26/19             Entered 08/26/19 18:09:25

 Debtor 1      Stephen J. Prevete                                                                          Case number (if known)   19-75581


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Stephen J. Prevete
 Stephen J. Prevete                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date     August 26, 2019                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                        Case 8-19-75581-ast                          Doc 9   Filed 08/26/19            Entered 08/26/19 18:09:25



 Fill in this information to identify your case:

 Debtor 1                 Stephen J. Prevete
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           19-75581
 (if known)                                                                                                                Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

    Creditor's                                                               Surrender the property.                      No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a         Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                      No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a         Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                      No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a         Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                      No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                            page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9   Filed 08/26/19           Entered 08/26/19 18:09:25



 Debtor 1      Stephen J. Prevete                                                                      Case number (if known)    19-75581

     name:                                                                   Retain the property and redeem it.                          Yes
                                                                             Retain the property and enter into a
     Description of                                                          Reaffirmation Agreement.
     property                                                                Retain the property and [explain]:
     securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:               Ally Financial                                                                                       No

                                                                                                                                   Yes

 Description of leased        auto lease
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Stephen J. Prevete                                                        X
       Stephen J. Prevete                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        August 26, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9    Filed 08/26/19     Entered 08/26/19 18:09:25

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Stephen J. Prevete                                                                               Case No.      19-75581
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,500.00
             Prior to the filing of this statement I have received                                        $                  2,500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 26, 2019                                                              /s/ Michael G. Mc Auliffe
     Date                                                                         Michael G. Mc Auliffe
                                                                                  Signature of Attorney
                                                                                  The Law Office of Michael G. Mc Auliffe
                                                                                  68 South Service Road
                                                                                  Suite 100
                                                                                  Melville, NY 11747
                                                                                  516-927-8413 Fax: 516-927-8414
                                                                                  mgmlaw@optonline.net
                                                                                  Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9    Filed 08/26/19         Entered 08/26/19 18:09:25




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Stephen J. Prevete                                                                               Case No.   19-75581
                                                                                    Debtor(s)                Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


 Date: August 26, 2019                                                   /s/ Stephen J. Prevete
                                                                         Stephen J. Prevete
                                                                         Signature of Debtor

 Date: August 26, 2019                                                   /s/ Michael G. Mc Auliffe
                                                                         Signature of Attorney
                                                                         Michael G. Mc Auliffe
                                                                         The Law Office of Michael G. Mc Auliffe
                                                                         68 South Service Road
                                                                         Suite 100
                                                                         Melville, NY 11747
                                                                         516-927-8413 Fax: 516-927-8414




USBC-44                                                                                                                             Rev. 9/17/98


Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
    Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                   Alex Lembert
                   63-35 83rd Street
                   Middle Village, NY 11379


                   Ally Financial
                   200 Renaissance Ctr
                   Detroit, MI 48243


                   American Express
                   PO Box 1270
                   Newark, NJ 07101


                   American Express
                   PO Box 315111
                   Salt Lake City, UT 84131


                   Amex/First Source
                   205 Bryant Woods South
                   Buffalo, NY 14228


                   Andrea Greenberg
                   3372 Seawane Drive
                   Uniondale, NY 11556


                   Anne P. Haran
                   9 Bellmore Ave
                   Point Lookout, NY 11569


                   Audi Financial Services
                   PO Box 5205
                   Carol Stream, IL 60197


                   Bank of America
                   PO Box 15796
                   Wilmington, DE 19886


                   Bernard Beackom and
                   Kathleen Beackom
                   1713 Green Way
                   Woodbury, NY 11797


                   Capital One Bank
                   PO Box 71083
                   Charlotte, NC 28272
Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




               Carla Gitto
               191 Mastic Beach Road
               Mastic Beach, NY 11951


               Century 21 Real Estate
               c/o Gordon & Ress
               18 Columbia Tpk
               Suite 220
               Florham Park, NJ 07932


               Chase
               PO Box 6294
               Carol Stream, IL 60197


               Chase Card Services
               PO Box 1423
               Charlotte, NC 28201


               Citibank
               PO Box 790040
               Saint Louis, MO 63179


               Citibank Ready Credit
               PO Box 70166
               Philadelphia, PA 19176


               Crescent Land Development
               Michael M. Premisler, Esq
               One Old Country Road
               Suite 360
               Carle Place, NY 11514


               Denise Ricci
               311 Harbor Drive
               Long Beach, NY 11561


               Donna Fisher
               5 Cecil Place
               Hicksville, NY 11801


               First Source Advantage
               205 Bryant Woods South
               Buffalo, NY 14228
Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




               George Kutty and
               Matthewkutty Easow
               1069 Hempstead Tpk
               Suite 2
               Franklin Square, NY 11010


               George Stella, Esq.
               20 Broadhollow Rd
               Suite 1002
               Melville, NY 11747


               Gerald Diamonti
               2950 Hempstead Tpk
               Levittown, NY 11756


               Home Depot Credit Svs
               Dept 32 -2017357900
               PO Box 9001030
               Louisville, KY 40290-1030


               HSBC Bank
               PO Box 9
               Buffalo, NY 14203


               Internal Revenue Service
               P.O. Box 7346
               Philadelphia, PA 19101


               Knight Capital Funding
               2400 Veterans Memorial Bl
               Ste 300
               Kenner, LA 70062


               Komal Kataria
               2465 Cadillac Drive
               East Meadow, NY 11554


               Kooresh Shooshtary
               27 Greenway Drive
               Syosset, NY 11791


               Lewis Brisbois
               633 West Fifth Street
               Los Angeles, CA 90071
Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




               Lowes Credit
               PO Box 530914
               Atlanta, GA 30353


               Maidenbaum
               483 Chestnut Street
               Cedarhurst, NY 11516


               Mark Dimarscio
               193 Country Road
               Medford, NY 11763


               Markotsis & Lieberman, PC
               115 B Broadway, Suite 2
               Att: George Neofitos, Esq
               Hicksville, NY 11801


               Marlin Business Services
               PO Box 1626
               Mount Laurel, NJ 08054


               Maryanne Kelly
               2484 Orange Street
               Bellmore, NY 11710


               Michael Wagner
               511 Hughes Ave
               Bellmore, NY 11710


               Nationwide Credit Inc
               PO box 26314
               Lehigh Valley, PA 18002


               Newsday
               20 Broadhollow Road
               Suite 1002
               Melville, NY 11747


               Nital Patel
               116 Half Hollow Road
               Melville, NY 11747
Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




               NYS Dept of Tax & Finance
               Bankruptcy Section
               PO Box 5300
               Albany, NY 12205


               Optimum
               1111 Stewart Ave
               Bethpage, NY 11714


               Patricia Oconnor
               2530 Oak Street
               Bellmore, NY 11710


               Patricia Prevete
               58 Meadowbrook Rd
               Syosset, NY 11791


               Peter O'connor
               2530 Oak Street
               Bellmore, NY 11710


               Preetinder Singh
               29 Washington Street
               Hicksville, NY 11801


               Premier Capital Funding
               9265 4th Ave 2nd Floor
               Brooklyn, NY 11209


               Renee Golub
               128 Altessa Blvd
               Melville, NY 11747


               Rhonda Levine
               2487 Army Dr
               Bellmore, NY 11710


               Richard Rosenzweig, Esq.
               57 Beach Street, 3rd Fl
               Staten Island, NY 10304


               Rosen Law Firm
               216 Lakeville Road
               Great Neck, NY 11020
Case 8-19-75581-ast   Doc 9   Filed 08/26/19   Entered 08/26/19 18:09:25




               Ryan Martin
               5 Hewitt Street
               Hicksville, NY 11801


               Swift Capital
               3505 Silverside Rd
               Suite 200
               Wilmington, DE 19810


               Synchrony Bank
               PO Box 965005
               Orlando, FL 32896


               Troiano Oil
               c/o Schwartz, Schwartz &
               Associates
               3280 Sunrise Hwy, #302
               Wantagh, NY 11793


               United Collection Bureau
               5620 Southwyck Blvd
               Suite 206
               Toledo, OH 43614


               United Properties Corp.
               1975 Hempstead Tpk
               East Meadow, NY 11554


               Vlamir Zilberman
               98-40 64th Ave, Apt 8A
               Rego Park, NY 11374


               Voley Martin
               5 Hewitt Street
               Hicksville, NY 11801


               Wells Fargo Bank
               PO Box 14529
               Des Moines, IA 50306


               Wells Fargo Home Mtg
               PO Box 14411
               Des Moines, IA 50306
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19          Entered 08/26/19 18:09:25



                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Stephen J. Prevete                                                         CASE NO.:.        19-75581

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                   (OVER)
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9     Filed 08/26/19        Entered 08/26/19 18:09:25

DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Michael G. Mc Auliffe
 Michael G. Mc Auliffe
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 The Law Office of Michael G. Mc Auliffe
 68 South Service Road
 Suite 100
 Melville, NY 11747                                                                         Signature of Pro Se Joint Debtor/Petitioner
 516-927-8413 Fax:516-927-8414

                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                       Case 8-19-75581-ast                           Doc 9    Filed 08/26/19        Entered 08/26/19 18:09:25



 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                              Chapter        7
 IN RE:  Stephen J. Prevete
                                                                                     Case No.: 19-75581

                                      Debtor(s)                                      STATEMENT PURSUANT TO LOCAL RULE 2017
                  ---------------------------------------------X

I, Michael G. Mc Auliffe, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):

                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      June 2019                              condition, etc.

                                                                             Preparation and review of
                                      August 2019                            Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                           2,500.00   .

Dated: August 26, 2019
                                                                        /s/ Michael G. Mc Auliffe
                                                                        Michael G. Mc Auliffe
                                                                        Attorney for debtor(s)
                                                                        The Law Office of Michael G. Mc Auliffe
                                                                        68 South Service Road
                                                                        Suite 100
                                                                        Melville, NY 11747
                                                                        516-927-8413 Fax:516-927-8414
                                                                        mgmlaw@optonline.net




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
